













NUMBER 13-08-00323-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

DELIA GORENA, 	APPELLANT,


v.



BETRESSA BLACKWELL AND 

JESSICA LYNN BLACKWELL,	APPELLEES. 

_____________________________________________________________


On Appeal from the 36th District Court 


of San Patricio County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yanez, Garza and Vela


Memorandum Opinion Per Curiam


	Appellant, Delia Gorena, perfected an appeal from a judgment rendered against her
in favor of appellee, Betressa Blackwell and Jessica Lynn Blackwell.   On August 26, 2008,
the Clerk of this Court notified appellant that the clerk's record in the above cause was
originally due on June 5, 2008, and that the district clerk, Laura Miller, had notified this
Court that appellant failed to make arrangements for payment of the clerk's record.  The
Clerk of this Court notified appellant of this defect so that steps could be taken to correct
the defect, if it could be done.  See Tex. R. App. P. 37.3, 42.3(b),(c).   Appellant was
advised that, if the defect was not corrected within ten days from the date of receipt of this
notice, the appeal would be dismissed for want of prosecution.  

	Appellant has failed to respond to this Court's notice.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 	

							PER CURIAM


Memorandum Opinion delivered and filed 

this the 16th day of October, 2008. 





	


